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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

JOCELYN MAMMEN,            )
                           )
          Plaintiff,       )                     Case No.: 0:18-cv-00640-WMW-BRT
                           )
     v.                    )                     STIPULATION FOR EXTENSION
                           )                     OF TIME TO ANSWER OR
HARTFORD LIFE AND ACCIDENT )                     OTHERWISE PLEAD
INSURANCE COMPANY; TARGET )
CORPORATION – LTD RESERVE )
BUY-OUT, PLAN/PLAN         )
ADMINISTRATOR,             )
                           )
          Defendant.       )


       Plaintiff, Jocelyn Mammen, and Defendant, Hartford Life and Accident

Insurance Company (“Hartford”), in light of the facts set forth below, stipulate to an

extension of time to April 20, 2018 for Hartford to answer or otherwise plead in

response to Plaintiff’s Complaint:

       1.     The Complaint in this matter was filed on March 7, 2018, and Hartford was

served on March 9, 2018.

       2.     Accordingly, Hartford’s responsive pleading is due on March 30, 2018.

       3.     Hartford requires an additional period of time (21 days) in which to review

its file and prepare a good faith responsive pleading.

       4.     Counsel for Hartford has conferred with counsel for Plaintiff, who has no

objection to Hartford’s request for an additional twenty-one (21) days, to and including

April 20, 2018, for Hartford to answer or otherwise plead to the Complaint.
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      WHEREFORE, Defendant Hartford Life and Accident Insurance Company

respectfully requests an additional twenty-one (21) days, to and including April 20, 2018

to answer or otherwise plead to the Complaint.

Dated: March 29, 2018.                           HUHTA LAW FIRM, PLLC

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                                                 Attorney for Plaintiff, Jocelyn Mammen




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